         Case 1:06-cr-00393-AWI Document 26 Filed 07/30/07 Page 1 of 1


 1
 2
 3
 4
 5
 6
 7
 8                         IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                  EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      )   01:06-CR-393 OWW
                                                    )
12                           Plaintiff,             )   ORDER ON GOVERNMENT’S
                                                    )   MOTION TO DISMISS
13                                                  )   (Fed. R. Crim. P. 48 (a))
                              v.                    )
14                                                  )
     PEDRO EQUIHUA VALDIVIAS,                       )
15    aka Manuel Jesus Chacon,                      )
                                                    )
16                           Defendant.             )
                                                    )
17
                                                  ORDER
18
             IT IS HEREBY ORDERED that the charges against PEDRO EQUIHUA VALDIVIAS found
19
     within the indictment in this case, be dismissed with prejudice and that warrant for the defendant’s
20
     arrest be recalled.
21
     Dated: July 26 , 2007                                  /s/ Oliver W. Wanger
22                                                          Honorable Oliver W. Wanger
                                                            U.S. District Judge
23
24
25
26
27
28


                                                        1
